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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                    )
                                              )
        v.                                    )        Case No. 21-CR-00118-RCL-1
                                              )
 ERIC GAVELEK MUNCHEL,                        )
                                              )
                       Defendant.             )
                                              )


       UNOPPOSED MOTION FOR TEMPORARY MODIFICATION OF BOND
                           CONDITIONS
       COMES NOW the Defendant, Eric Munchel (Mr. Munchel) by and through undersigned

counsel, and respectfully tenders his Unopposed Motion for Temporary Modification of Bond

Conditions and in support thereof states as follows:

   1. On January 10, 2021, Mr. Munchel was arrested in the State of Tennessee on a complaint

       alleging charges arising out of events on January 6, 2021. (See ECF at 1).

   2. Mr. Munchel was granted release on his own recognizance on March 29, 2021, and has

       remained so since.

   3. Mr. Munchel is soon to be wed and as part of the traditional wedding celebration, wishes

       to take his new wife on a honeymoon.

   4. Mr. Munchel’s current conditions of bond do not permit him being absent from his

       residence overnight.

   5. Mr. Munchel has found a location in the middle district of Tennessee in which to enjoy

       his honeymoon and said location has been approved by pretrial release.

   6. Mr. Munchel has also submitted the dates of March 17-19, 2023 over which he is

       requesting he be permitted to enjoy his honeymoon.
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   7. Both pretrial release and the Attorney for the Government have been consulted regarding

       both the location and the proposed dates have stated they have no objection.



   WHEREFORE Defendant respectfully prays this Court make and enter its Order granting a

temporary modification of bond conditions to permit Defendant to enjoy his honeymoon at the

location provided to pretrial release and the Attorney for the Government and for the

aforementioned dates, and for such other and further relief as this Court shall deem just and

proper on the premise.



                                                     Respectfully submitted,




                                                     ____________________________________
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                                                     Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of, February 2023, I filed the foregoing Unopposed
Motion to Transfer Third Party Custody and Change of Residential Address and a proposed
Order by the Court’s CM/ECF system. All case registered parties will be served by CM/ECF.




                                                    ____________________________
                                                    Joseph W. Allen
